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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

IN RE:                                           )
                                                 )
Margaret Rose Smith                              )
                                                          CASE NUMBER: 14-01361-JJG-13
                                                 )
                                                 )
DEBTOR                                           )




                             NOTICE OF FINAL CURE PAYMENT

       Pursuant to Fed. Bankr. Rule 3002.1(f), the Trustee files Notice that the amount
required to cure the default in the below claim has been paid in full and that the Debtor has
completed all mortgage payments under the plan.

Name of Creditor: SN SERVICING CORPORATION


FINAL CURE AMOUNT

   Court            Trustee
   Claim #           Claim #    Account #                 Claim Allowed         Amount Paid
     6                  2         8189                      $71,361.79           $71,361.79

MONTHLY ONGOING MORTGAGE PAYMENT

XX Mortgage was paid through the Chapter 13 conduit.
   Trustee conduit ended with the February 2019 payment and the debtor is to resume
payment in March 2019.
__ Mortgage is paid directly by the Debtor.

        Within 21 days of service of this Notice, the creditor MUST file and serve on the Debtor,
Debtor’s counsel, and the Trustee, pursuant to Fed.R.Bank.P. 3002.1(g), a statement indicating
whether it agrees that the Debtor has paid in full the amount required to cure the default, has
paid all outstanding post-petition fees, costs or negative escrow amounts due, and whether,
consistent with § 1322(b)(5), the Debtor is otherwise current on all payments, or be subject to
further action of the Court.

The statement shall itemize the required cure or post-petition amounts, if any, that the Creditor
contends remain unpaid as of the date of the statement. The statement shall be filed as a
supplement to the Creditor’s proof of claim and is not subject to Fed.R.Bank.P. 3001(f). Failure
to notify may result in sanctions.

Date: June 07, 2019
                                                 /s/ John M. Hauber
                                                 John M. Hauber, Trustee
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                                CERTIFICATE OF SERVICE

          I hereby certify that on Friday, June 7, 2019, a copy of the foregoing Notice of Final
Cure Payment was filed electronically. Notice of this filing will be sent to the following
party/parties through the Court's Electronic Case Filing System. The party/parties may access
this filing through the Court's system.


                                              US Trustee
                                     ustpregion10.in.ecf@usdoj.gov


                                        MARK S ZUCKERBERG
                                         filings@mszlaw.com

                                          D. Anthony Sottile
                                   bankruptcy@sottileandbarile.com


         I further certify that on Friday, June 7, 2019, a copy of the foregoing Notice of Final
Cure Payment was mailed by US First-Class mail, postage prepaid and properly addressed to
the following:

    SN SERVICING CORPORATION                       Margaret Rose Smith
    323 FIFTH ST                                   6450 N Round Barn Road
    EUREKA, CA, 95501                              Williamsburg, IN, 47393-7393




                                                 /s/ John M. Hauber
                                                 John M. Hauber, Trustee
